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.D_LK-TN,A§R$WH§
WENCOAST R.ESTAUR.ANTS, INC.,
Plaintiff,
v. Cv. No. 05-2420»Ma
MARSI-IALL W. CRISS and
THOMAS POWELL,
Defendants.
JUDGMENT
Decision. by‘ Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that in accordance with the Order

filed June 9, 2005, this case is transferred to the United States
District Court for the District of South Carolina, Charleston.

APPROVEIN//m.

SAMUEL H. MAYS, JR.
U`NI‘.'L‘ED STATES DISTRICT JUDGE

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Wm. HoWell Morrison

MOORE & VAN ALLEN, PLLC
40 Calhoun St.'7 Ste. 300
Ch.';lrleston7 SC 29401

Bruce S. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Jeremy G. Alpert
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

Memphis7 TN 38103

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Oscar C. Carr

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

